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CAUSE NOlC-{)‘lQO-‘l?-H

 

RAUL MALDONADO l`N THE DISTRICT COURT
DE`. LOS REYES
Plcn`nr§f)"'

VS. JUDICIAL DISTRICT
SUSSEX INSURANCE COMPANY
AND DARIELI_.E TI-IOMPSON
Defendan!.r

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HIDALGO COUNTY_ TEXAS
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I’LAINTIFF’S ORIGINAL PETITION

   

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TO THE HONORABLE JUDGE OF sain coURT; ay iii ’ ' "
COMES NOW, RAUL MALDONADO DE LOS REYES, complaining of SUSSEX
INSURANCE COMPANY AND DARIELLE THOMPSON, and for cause of action would

sliow:
I. DISCOVERY
l. This is a level III discovery case as defined by the 'l`exas Rules of Civil Procedure.
II. PARTIES

2. Piaintiff is a resident of Hidalgo County, Texas.

3. Det`endant Sussex Insurance Cornpany is a South Carolina Corporation engaging in the
business of insurance in the State of Texas. The defendant may be sewed with process by
serving its registered agent: CT Corporation Systern, 1999 Bryan Slreet, Dallas, Texas 75201.

4. Defendant Darielle Thompson is an individual licensed to engage in the business of
adjusting insurance claims in 'l`exas. This defendant can be served with process by serving her at
Sussex Insurance Company's office located at P.O. Box 1116, Fort Worth, Texas ?6]01 or
wherever found.

III. JURISDICTION & VENUE

5. Tlie subject matter in controversy is within the jurisdictional limits of this court. The

 

 

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court has jurisdiction over Det`endant Sussex Insurance Cornpany (hereinafter “Sussex”) because
it is engaging in the business of insurance in the State of Texas and over Defendant Darielle
'l`hompson (hereinafter “Thornpson”) because she is an adjuster for Sussex who operates out ot` a
Sussex office in Texas. Venue is proper in this county because the insured property is situated in

Hidalgo County, 'l`exas. 'l`ex. Civ. l’rao. & Rein. Cocie § 15.032.

 

IV. FACTS

6. Plaintiff is the owner of the Texas I~Iorneowner's Insurance Policy (hereinaii'er referred
to as “the Policy”), which was issued by Sussex.

?. Plaintiff owns the insured property, located at 1712 W 22 */2 Street, Mission, Texas
'?8572 (hereinafter referred to as “the Property").

8. Sussex sold the Policy insuring the property to Plaintiff.

9. On or about March 26, 2015, Plaintit`f sustained extensive physical damage to the
insured Propeity. During the late afternoon and evening hours of March 26, 2015, strong
supercell thunderstorrns moved through the Mission, Texas area producing heavy rains, and
damaging wind and hai|.

10. Plaintiff submitted claims to the Defendants against the policy for damages to the
Property as a result of the Mareh 26, 2015 stonn. Plaintiff requested that the Defendants cover
the costs of these repairs pursuant to the policy they entered into with the Defendants.

ll. The Plaintii"f reported the damage to the covered Property to the Defendant Sussex.
The Defendant wrongfully denied Plaintit`f"s claim for full repairs to the Property, even though
the Policy they have with the Defendant provided coverage for losses such as the losses suffered
by the Plaintiff. Additionally, the Defendant under-scoped damages during its inspections,

investigations, and payment and made representation that the policy the Plaintiff has with

 

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Defendant specifically excluded some repairs.

12. As of the date of this i"lling, the Defendant continue to delay in the payment for the
damages to the property. As a result, Plaintif'f` has not been paid the full value of the damages
suffered to his home.

13. Defendant Sussex failed to perform its contractual duties to adequately compensate
Plaintiff under the terms of the policy. In spite of a demand for proceeds to be paid out in an
amount sufficient to cover the damaged property, Defendant Sussex has categorically refused to
pay the full proceeds available under the polioy. Additionally, all conditions precedent to
recovery upon the Policy have been carried out by the Plaintiff. Defendant Sussex's conduct
constitutes a breach of the insurance contract between Plainti'ff and Defendant.

14. Det`endant Sussex has misrepresented to Piaintifi" there was no damage to areas of the
home that were damaged, and that all damage covered under the Policy has been accounted for,
even though it has not been paid in fuli. Defendant Sussex's conduct constitutes a violation of
the Texas lnsurance Code, Unfair Sett|ement Practices. Tex. Ins. Code §541.060(a)(l).

15. Defendant Sussex failed to make an attempt to settle Plaintiff's claim in a fair
manner, although it was aware of its liability to Plaintifi" under the Poliey. Defendant Sussex‘s
conduct constitutes a violation of the Texas lnsurance Code, Unfair Settlement Practices. Tex.
Ins. code §§41.060(3)(2)(;\).

16. Defendant Sussex failed to adequately explain to Plaintiti` the reasons for its offer of
an inadequate settlement Speciiica|ly, Defendant Sussex failed to offer Plaintiff adequate
compensation, and misrepresented its explanation for why full payment was not being made.
Furthermore, Defendant Sussex did not communicate that any future settlements or payments

would be forthcoming to pay for the entire losses covered under the Policy, nor did it provide

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any explanation for the failure to adequately settle Plaintift’s ciaim. Defendant Sussex’s conduct
is a violation of the Texas lnsurance Code, Unfair Settiement Practices. Tex. lns. Code
§541.060(a)(3).

17. Defendant Sussex refused to fully compensate Plaintiff, under the terms of the Policy,
even though Defendant Sussex failed to conduct a reasonable investigation Specifically,
Defendant Sussex performed an outcome-oriented investigation of Plaintift’s ctaim, which
resulted in a biased, unfair, and inequitable evaluation of Plaintit`t‘s losses on the Property.
Defendant Sussex’s conduct constitutes a violation of the Texas lnsurance Code, Unfair
Settlement Practices. Tex. lns. Code §541.060(a)(?).

18. Defendant Sussex failed to accept or deny Plaintifi‘s iiill and entire claim within the
statutorily mandated time of receiving all necessary information Defendant Sussex’s conduct
constitutes a violation of the Texas lnsurance Code, Prompt Payment of Claims. Tex lns. Code
§542.056.

19. Dei"endant Sussex failed to meet its obligations under the Texas lnsurance Code
regarding payment of claim without delay. Specifically, it has delayed tiill payment of Plaintift’s
claim longer than allowed and, to date, Plaintifl" has not received full payment for his claim.
Defendant Sussex’s conduct constitutes a violation of the Texas lnsurance Code, Prompt
Payment of Clairns. Tex. Ins. Code §542.058.

20. Since the date Plaintiff presented his claim to Defendant Sussex, the liability of
Defendant Sussex to pay the full claim in accordance with the terms of the Policy was reasonably
clear. I-lowever, Defendant Sussex has refused to pay P|aintiff in full, despite there being no
basis whatsoever on which a reasonable insurance company would have relied to deny the full

payment Defendant Sussex’s conduct constitutes a breach of the common law duty of good

 

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faith and fair dealingl

21. Defendant Sussex knowingly or recklessly made false representations, as described
above, as to material facts and!or knowingly concealed all or some material information from
Plaintiff.

22. As a result of Det`endant Sussex’s wrongful acts and omissions, Plaintiff was forced
to retain the professional services of the attorney and law firm who are representing him with
respect to these causes of action.

V. CAUSES OF ACTION
Causcs of Action against Sussex and Darielle Thompson’s Noncompliancc with Texas
lnsurance Code: Unfair Settlement Practices

23. Defendants, Sussex and Thompson’s, conduct constitute multiple violations of the
Texas lnsurance Code, Unfair Settlement Practices. TEX. INS. CODE. §541.151.

24. Defendant, Thompson, is liable for its unfair and deceptive aets, irrespective of the
fact it was acting on behalf of Sussex, because it is a “person” as defined by TEX. INS. CODE.
§541.002(2). The term “person” is defined as “any individual, corporation, association,
partnership, reciprocal or inter-insurance exchange, Lloyd's plan, fraternal benefit society, or
other legal entity engaged in the business of insurance, including an agent, broker, adjuster or life
and health insurance counselor.” TEX. INS. CODE. §541.002(2) (emphasis added). (See also
Lil)ergg Mu!z.rat' insurance Co. V Garrison Contmcr‘ors. Irrc.. 966 S.W. 2d 482. 484 (Tex. 1998)
(holding an insurance company employee to be a “person" for the purpose of bringing a cause of
action against them under the Texas lnsurance Code and subjecting them to individual liability).

25. Defendants, Sussex and Thompson’s, unfair settlement practices, as described above,

of misrepresenting to Plaintift` material facts relating to the coverage at issue, constitutes an

 

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unfair method of competition and an unfair and deceptive act or practice in the business of
insurance TEX. INS. CODE. §541.060(a)(1).

26. The unfair settlement practices of Defendants, Sussex and Thompson, as described
above, of failing to promptly provide Plaintiff with a reasonable explanation of the basis in the
Policy, in relation to the facts or applicable law, for the offer of a compromise settlement of
Plaintiff’s claim, constitute an unfair methods of competition and an unfair and deceptive acts or
practices in the business of insurance TEX. INS. CODE. §541.060(a)(3).

2?. Defendants, Sussex and 'l`hompson’s, unfair settlement practices, as described above,
of refusing to pay Plaintifl`s claim without conducting a reasonable investigation, constitutes an
unfair method of competition and an unfair and deceptive act or practice in the business of
insurance. TEX. INS. CODE. §541.0609(a)('i').

Fraud against all Dcfcndant Parties

28. Defendants Sussex and Thompson are liable to Plaintiff for common law fraud.

29, Defendants made material misrepresentations to Plaintiff as to the extent of his
damages, the need for repairs, the quality of their services, and the extent of the coverage
provided by the Policy of those damages. Each and every one of the representations, as
described above, concerned material facts relied upon by Plainti'ft` which Defendants, Sussex and
Thompson, knew were false or made recklessly without any knowledge of their truth as a
positive assertion.

30. The statements were made with the intention that they should be acted upon by
Plaintiff, who in turn acted in reliance upon the statements proximately causing Plaintiff to suffer

injury and damages as described herein below.

 

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Conspiracy to Commit Fraud against all Defendant Partics
31. Del"endants Sussex and Thompson are liable to Plaintifl" for conspiracy to commit
fraud. Defendants Sussex and Thompson were members of a combination of two or more
persons whose object was to accomplish an unlawful purpose by unlawful means. In reaching a
meeting of the minds regarding the course of action to be taken against Plaintiff,
Defendants, Sussex and Thompson, committed an unlawful, overt act to further the object of the

conspiracyl Plainti'ff suffered injury as a proximate result.

CAUSES ()F ACTION AGAINST SUSSEX ONLY

32. Defendant Sussex is liable to Plaintiff for breach of contract, as well as intentional

violations of the Texas lnsurance Code and intentional breach of good faith and fair dealing.
Breach of Contract

33. Defendant Sussex‘s conduct as described supra constitutes a breach of the insurance
contract made between Sussex and Plaintiff.

34. Defendant Sussex’s failure and refusal, as described above, to pay the adequate
compensation as it is obligated to do under the terms of the Policy in question and under the laws
of the State of Texas, constitutes a breach of Sussex’s insurance contract with Plaintit`f which
proximately caused Plaintiff the loss of the policy benefits

Noncomplianee With Texas lnsurance Code: Unfair Scttlement Practiccs

35. Defendant Sussex’s conduct constitutes multiple violations of the 'l`exas lnsurance
Code, Unfair Settlement Practices. TEX. l'NS. CODE. §541.060(A). AII violations under this
article are made actionable by 'I`EX. l'NS. CODB. §541.151.

36. Defendant Sussex’s unfair settlement practice, as described above, of misrepresenting

to Plaintiff material facts relating to the coverage at issue, constitutes an unfair method of

 

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competition and an unfair and deceptive actor practice in the business of insurance 'I`EX. INS.
CODE. §541.060(a)(l).

37. Defendant Sussex’s unfair settlement practice, as described above, of failing to
attempt in good faith to effectuate a prompt, fair, and equitable settlement of the claim, even
though Sussex’s liability under the Policy was reasonably clear, constitutes an unfair method of
competition and an unfair and deceptive actor practice in the business of insurance TEX. INS.
CODE. §541.060(a)(2)(A).

38. Defendant Sussex’s unfair settlement practice, as described above, of failing to
promptly provide Plainti'ff With a reasonable explanation of the basis in the Policy, in relation to
facts or applicable law, for their offer of a compromise settlement of the claim, constitutes an
unfair method of competition and an unfair and deceptive act or practice in the business of
insurance TEX. lNS. CODE. §541.060(a)(3).

39. Defendant Sussex’s unfair settlement practice, as described above, of failing within a
reasonable time to affirm or deny coverage of the claim to Plaintiff, or to submits reservation of
rights to Plaintiff, constitutes an unfair method of competition and an unfair and deceptive actor
practice in the business of insurance. TEX. INS. CODE. §541.060(a)(4).

40. Defendant Sussex`s unfair settlement plactice, as described above, of refusing to pay
Plaintist claim without conducting a reasonable investigation, constitutes an unfair method of
competition and unfair and deceptive act or practice in the business of insurance TE`X. INS.

coDE. §541.060(3)(7).

 

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Noncompliance with Texas lnsurance Code: The Prompt Payrnent of Claims

41. Det`endant Sussex’s conduct constitutes multiple violations of the Texas lnsurance
Code, Prompt Payment of Claims. All violations made under this article are made actionable by
TEX. I`NS. CODE. §542.060.

42. Defendant Sussex's failure to acknowledge receipt of Plaintiff`s claim, commence
investigation of the claim, request from Plaintitt` all items, statements, and forms that they
reasonable believed would be required within the applicable time constraints, and pay the full
amount of the clalm, as described above, constitutes a non-prompt payment of claim and a
violation of the TEX. INS. CODE §542.056(3).

Breach of Duty of Gaod Faith and Fair Dcaling

43. Defendant Sussex’s conduct constitutes a breach of the common law duty of good
faith and fair dealing owed to an insured in insurance contracts

44. Defendant Sussex’s failure, as described above, to adequately and reasonably
investigate and evaluate Plaintiff's claim when Sussex knew, or should have known, by the
exercise of reasonable diligence that its liability was reasonably ciear, constitutes a breach of the
duty of good faith and fair dealing which proximately caused Plaintiff” s damages as described
herein below.

KNOWLEDGE

45. The acts of Defendants are in violation of the lnsurance Code described above were
done “l<nowingly,” as that item is used in the 'l`exas lnsurance Code, and were producing causes

of Plaintiff’s damages described herein.

VI. DAMAGES

46. Plaintiff will show that all of the aforementioned acts, taken together or singularly,

constitute the proximate or producing causes of the damages sustained by Plaintiff.

 

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47. As previously mentioned, the damages caused by the storms described above
rendered Plaintiff’s property substantially damaged These damages have not been properly
addressed or repaired in the months since the storrn, causing further damages to the Property and
causing undue hardship and burden to Plaintiff. These damages are a direct result of Defendants',
Sussex and Thompson’s, mishandling of Plaintiff’s claim in violation of the laws set forth above.

48. For breach of contract, Plaintiff is entitled to regain the benefit of his bargain, which
is the amount of his claim, together with attorneys' fees.

49. For noncompliance with the Texas lnsurance Code, Unfair Settlement Practices,
Plaintiff is entitled to actual damages, which include the loss of the benefits that should have
been paid pursuant to the policy, mental anguish, court costs and attorney‘s fees.

50. For noncompliance with Texas lnsurance Code, Prompt Payment of Claims, Plaintiff
is entitled to the amount of his claim, as well as eighteen (18) percent interest per annum of the
amount of such claim as damages, together with attorney's fees. rI`E)t. INS. CODE. §542‘060.

51. For breach of the Common Law duty of good faith and fair dealing, PIalntifl` is
entitled to compensatory damages, including all forms of loss resulting from the insurer‘s breach
of duty, such as additional costs, economic hardship, losses due to nonpayment of the amount the
insurer owed, exemplary damages and damages for emotional distress

52. For fraud, Plaintiff is entitled to recover actual damages and exemplary damages for
knowing fraudulent and malicious representations, along with attorneys' fees, interest and court
costs.

53. For the prosecution and collection of this claim, P|aintit`f has been required to retain
the services of the undersigned attorneys and is entitled to recover his reasonable and necessary

attorneys' fees.

 

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54. As a result of the knowing violations of the Texas lnsurance Code, Plaintiff is entitled
to recover treble damages pursuant to the provisions of the Texas lnsurance Code.

5 5 . As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiff’s counsel states
that the damages sought are in an amount within the jurisdictional limits of this Court. As
required by Rule 4')'(c), 'l`exas Rules of Civil Procedure, Plaintiff`s counsel states that Plaintiff
seeks monetary relief, the maximum of which is not more than $75,000.00. The amount of
monetary relief actually awardcd, however, will ultimately be determined by a jury. Plaintitf
also seeks prejudgment and post-judgment interest at the highest legal rate.

VII. WRITTEN DISCOVERY
chuests for Disclosure

56. Under Texas Rule of Civil Proceclure 194, plaintiff requests that defendants disclose,
within 50 days of the service of this request, the information or material described in Rule 194.2.

Plaintiff"s 1’il Requcsts for Produetion to Defendant Sussex and Dariellc Thompson

5?. Please produce a copy of your entire claims file, including memos, emails, estimates,
records, a complete copy of the policy, letters, evaluations, etc. If you make claim of privilege
for any documents requested in this request for production, then pursuant to TRCP 193.3(b),
consider this Plaintiff’ s request that you identify the information and material withheld and the
specific privilege asserted by producing a privilege log of each document withheld.

58. Please produce all non-privileged emails and other forms of communication between
Sussex, its agents, adjusters, employees, or representatives and the adjuster, and!or their agents,
adjusters, representatives or employees relating to, mentioning, concerning or evidencing the

Plaintiff's property which is the subject of this suit.

 

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59. Produce any complete file (excluding all privileged portions) in Sussex’s possession
for the Plaintifffinsured and!or for the Plaintiff’s property as listed in Plaintiff‘s Original Petition,
relating to or arising out of any claim for damages which Sussex opened a claim under any
policy. Please produce a privilege log for any portions withheld on a claim of privilege

6{]. Produce the complete claim or adjusting file for Plaintist property Please produce a
privilege log for any portions withheld on a claim of privilege

61. Produce all emails and other forms of communication between Sussex and andfor
their agents, adjusters, representatives or employees relating to, mentioning, concerning or
evidencing the Plaintiff’s property which is the subject of this suit. This includes any
correspondence or communications related to the Plaintiff’s property, whether related to this
claim or any other claim in Sussex’s possession Please produce a privilege log for any items
withheld on a claim of privilegel

VIII. PRAYER

Wl-IEREFORE, PREMISES CONSIDERED, Plaintiff prays that upon trial hereof, said
Plaintiff has and recover such sums as would reasonably and justly compensate him in
accordance with the rules of law and procedure, as to actual damages, treble damages under the
Texas lnsurance Code, and all punitive and exemplary damages as may be found. In addition,
Plaintiff requests the award of attorney's fees for the trial and any appeal of this case, for all costs
of Conrt on his behalf expended, for prejudgment and post-judgment interest as allowed by law,
and for any other and further relief, either at law or in equity, to which he may show himself
justly entitled

Respectfully submitted,

LAWRENCE LAW FIRM
31 12 Windsor Rd., Suite A234

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By:

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ATTORNEYS FOR PLAI'NTIFF

 

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i'\ civil cosc information sheet must bc completed and submitted when on originnt petitioner application is l't|t:d to initiate o new citiil, family iaw, probntc. or_ mental
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d. lndlcate damages sought (do rtor.s‘eieor .Wr is o family irm cose};

 

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on 06/06/17 Page 15 of 36

C-0190-17-H

LAWRENCE LAW FIRM

A JP‘r¢:tj"tzssionot Corpomt‘iou

3| 12 Windsor Rd. #A234
Austin, Texas ?3?03
(95|5) 994-005?
(800) 50?-4] 52 fox

January 12, 201?

Vt`a E~Ft'!e

Laura I-Iinojosa, District Clerk
100 N. Closner

P.O. Box 8?

Edinburg, Texas 78539

(956) 318-2200 - Tel.

(956) 318-2251 - Fax

R.E: NEW FILING: Ran!. Moldonado De Los Reyes v. .S'ussex lnsurance
Comprmy orer Dorieh'e Thompson

Deat' District Clerk:

By this letter, we kindly ask that you tile the enclosed petition with request for a jut'y, and
that you please ptcpai'e one citation and serve it by certified mail RRR for the following
defendants:

a. Defendant Sussex lnsurance Company is a South Carolina Corporation engaging
in the business of insurance in the State of Texas. The defendant may be served
with process by serving its registered agent: CT Corporation System, 1999 Bryan
Street, Dallas, Texas ?5201.

b. Det`endant Darielle Titornpson is an individual licensed to engage in the business
of adjusting insurance claims in 'I`exas. This defendant can be served with process

by serving her at Sussex lnsurance Company's office located at P.O. Box 1116,
Fot't Worth, Texas ?6101 or wherever found.

If you have any questions, please feel free to contact me directly at 956-792-6286. Thank
you.

Warmest Regards,
fst‘ Michael A. Lawrence

LARR.Y W. LAWRENCE, JR.
MICHAEL A. LAWRBNCE

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on O6/O6/17 Page 16 of 36
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Hldalgo County District C|erks
Reviewed By: Rachel Eiueno

LAWRENCE LAW FIRM

A Prafessr'ona! Corpomtr`on

31 12 Wit'tdsot’ R(l. #A234 /
Austin, Texas ?8?03 g [”/

(956) 994-cosa mm M%.m;\ ;m:

(soo) 50?»4152 tax l .. . .

 
     

May 2,2017

i/it'a E-F!'le

Laura Hinojosa, District Clerit
100 N. Closner

P.O. Box S'}'

i':`.dinburg, Texas 78539

(956) 318-2200 - 'I`el.

(956) 318-2251 - Fax

RE: C-0190-1'i'-H: Rattt' Ma!dotmtfo De Los Reyes v. Sussex lnsurance
Company and Darfe¢'ie T!tompson

Dear District Clet'k:

By this letter, we include missing fees of $7.00 (seven dollars) to cover the missing funds
needed to perfect service in this case. If you have any questions, we would ask that you please
contact me directly at 956-792-6286. Thank you.

Warrnest Regards,
!sf Michael A. Lawrence

LARRY W. LAWRENCE, JR.
MICHAEL A. LAWRENCE

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on O6/O6/17 Page 17 of 36

C-0190-17-H
389TH DISTRICT COURT, HIDALGO COUN'I`Y, TEXAS

 

CITATION

 

THE STATE TEXAS

NOTICE TO DEFENDANT: You have been sued. You may employ an attorneyl lt you
or your attorney do not file a written answer with the clerk who issued this citation by
10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served this citation and petition, a default judgment may be taken against you.

Darielle Thompson

C)'O Sussex lnsurance Cornpnny

P.O. Box 1116

Fort W~nrth1 Texas 76101

OR WHEREVER SHE MAY BE FOUND

You arc hereby commanded to appear by filing a written answer to the PLAINTIFF’S
ORIG[NAL PE`.TiTION at or before 10:00 o’clock a.m on the Monday next after the
expiration of twenty (20) days after the date of service hereof, before the Honorablc
389th District Court of Hidalgo Courny, Texas at the Courthouse, 100 North Closner,
Edinburg, Texas 78539.

Said Pctitiort was filed on this the 12th day of January, 2017 and a copy of same
accompanies this citation. The file number and style of said suit being, C-0190-17-H,
RAUL MALDONADO DE LOS REYES VS. DARIELLE THOMPSON, SUSSEX
INSURANCE COMPANY

Said Pctition was filed in said court by Attorney Larry W. Lawrence, Jr., 3112 Wirtdsor
RD STE A234 Austin TX 78703.

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part ltet'eof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates thereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Court at Edinburg,
Texas on this the 2nd day of May, 2017.

LAURA HINOJOSA, DISTRICT CLERK
100 N. CLOSNER, EDINBURG, TEXAS
HIDALGO COUNTY, TEXAS

@ttt.‘_tct§. iii\.amt.t;)

RACHEL BUENO DEPUTY CLERK

 

 

 

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on 06/06/17 Page 18 of 36

CERTIFIED MAIL 92148901066154000106774849

CERTIFICATE OF RETURN
UNDER RULES 103 T.R.C.P.

This is to certify that on this the 2nd day of May, 2017 I, Rachel Bueno, Dcputy Cierk of
the 389th District Court of Hidalge County, Texas mailed to the defendant in Cause
Number C-Ol90-lT-H, Raul Maldonado De Los Reyes VS. Dat'ielle Thompson, Sussex
lnsurance Company a copy of the citation along with a copy of the petition by certified
mail return receipt requested Return receipt was returned on the __ day of

, 201_ (or unserved for the reason on the certificate return)

 

GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at office in Edinburg,
Texas on this the 2nd day of May, 201'7.

LAURA HINOJOSA, DIS'I`RICT CLERK
HIDALGO COUNTY, TEXAS

 

RACHEL BUENO, DEPUTY CLERK

COMPLETE IF YOU ARE PERSON OTHER THAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT
ln accordance to Rule lO'i`. the officer or authorized person who serves or attempts to
serve a citation must sign the return If the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is . my date of birth is
and the address is .and I
declare under penalty of perjury that the foregoing is true and correct

EXECUTED in County, State of Texas, on the day of ,
20 .

 

Declaran t”

 

If Certif'ied by the Supreme Court of Texas
Date of Expiration f SCH Nurnber

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on O6/O6/17 Page 19 of 36

C-0190-17-H
389TI~I DISTRICT COURT, HIDALGO COUNTY, TEXAS

 

CITATION

 

THE STATE TEXAS

NO'I`ICE TO DEFENDANT: You have been sued. You may employ an attorney. If you
or your attorney do not tile a written answer with the clerk who issued this citation by
10:00 a.m. on the Monday next following the expiration of twenty (20) days after you
were served this citation and petition, a default judgment may be taken against you.

Sussex lnsurance Company

CfO Registered Agent: CT Corporation System
1999 Bryan Street

Dallas, Texas 75201

You are hereby commanded to appear by filing a written answer to the PLAINTIFF’S
ORIG]NAL PETI'I`ION at or before 10:00 o’cloclt a.m on the Monday next after the
expiration of twenty (20) days after the date of service hereof, before the Honorable
389th District Court of Hidalgo County, Texas at the Courthouse, 100 North Closner,
Edinburg, Texas 78539.

Said Petiticn was filed on this the 12th day of January, 2017 and a copy of same
accompanies this citation. The tile number and style of said suit being, C-0190~17-H,
RAUL MALDONADO DE LOS R.EYES VS. DARIELLE THOMPSON, SUSSEX
INSURANCE COMPANY

Said Petition was filed in said court by Attorney Larry W. Lawrence, Jr., 3112 Windsor
RD STE. A234 Austin TX ?3703.

The nature of the demand is fully shown by a true and correct copy of the petition
accompanying this citation and made a part hereof.

The officer executing this writ shall promptly serve the same according to requirements
of law, and the mandates rhereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL of said Courl at Edinburg,
Tcxas on this the 2nd day of May, 2017.

LAURA HINO.IOSA, DISTRIC'I` CLERK
100 N. CLOSNER, EDINBURG, TEXAS
HIDALGO COUNTY, TEXAS

/ ) n

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RACHEL BUENO DEPUTY cLERK n ga /gz} 7
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Case 7:17-cv-00219 Document 1-2 Filed in TXSD on O6/O6/17 Page 20 of 36

CERTIFIED MA IL 9214 8901 0661 5400 0106 7'?48 49

CERTIFICATE OF RETURN
UNDER RULES 103 T.R.C.P.

This is to certify that on this the 2nd day of May, 2017 I, Rachel Bueno, Deputy Clerk of
the 389th District Court of Hidalgo County, Texas mailed to the defendant in Cause
Number C-0190-l'i‘-H, Raul Ma|donado De Los Reyes VS. Darielle Thompson, Sussex
lnsurance Company a copy of the citation along with a copy of the petition by certified
mail return receipt requested Return receipt was returned on the _ day of

, 201_ (or unserved for the reason on the certificate return]

 

GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at office in Edinburg,
Texas on this the 2nd day of May. 2017.

LAURA HINOJOSA, DISTRICT CLERK
HIDALGO COUNTY, TEXAS

 

RACHEL BUENO, DEPUTY CLERK

COMPLETE IF YOU ARE PERSON OTHER TI~IAN A SHERIFF,
CONSTABLE OR CLERK OF THE COURT
In accordance to Ruie 107, the officer or authorized person who serves or attempts to
serve a citation must sign the return. lf the return is signed by a person other than a
sheriff, constable or the clerk of the court, the return must either be verified or be signed
under the penalty of perjury. A return signed under penalty of perjury must contain the
statement below in substantially the following form:

“My name is . my date of birth is
and the address is .and I
declare under penalty of perjury that the foregoing is true and correct.

EXECUTED in County, State of Texas, on the day of ,
20 .

 

Declarant”

 

If Certified by the Supreme Court of Texas
Date of Expiration fSCH Numbcr

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on O6/O6/17 P@&pog|ga@i,_§§,
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Hida|go County District C|erks
Reviewed By: Celeste De La Rosa

CAUSE NO. C-0190~l 7-H

RAUL MALD ONADO DE, LOS R_EYES l'N THE DISTRICT COUR'I`

V. 389“‘ JUDICIAL brenner
sussex INSURANCE company AND

DAR_IELLE 'I`HOMPSDN I-I]DALGO COUN'I`Y, TEXAS

imm§¢mr-O§W‘#¢ol

DEFENDANT DARIELLE THOMPSON’S ORIGINAL ANSWER

TO 'I`HE I-IONORABLE JUDGE`. OF SAID COURT:
COMES NOW, DARIELLE THOMPSON, Defendant i.n the above-styled and numbered

cause, and makes and files tbis, his original answer in reply to Plaintiff's Petition, and for such
answer and would respectfully show unto the Court the following:
I.

Pursuant to Rule 92 of the Texas Ruies of Civil Procedure, Defendant generally denies the
allegations contained within Piai ntifi’ s Petition and demands strict proof thereon by a preponderance
of the credible evidence in accordance With the laws of the State ofTexa.s.

2.

Pleading further and without waiver of the above, Def`endants deny the occurrence of all
conditions precedent to Plaintiff`s claim. Without limiting the foregoing, Defendants deny that
there has been full compliance with all terms and conditions of the insurance policy at issue as
required prior to plaintiff bringing suit. including, but not limited to, die requirement that payment
is only due after agreement is reached on the amount of loss or an appraisal award has been made.

3.
Pleading further and without waiver of the above, Defendant requests that this Court

compel mediation pursuant to TEXAS INSLIRANCE CODE § 541.161(a). This mediation is required

 

 

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Reviewed By: Celeste De La Rosa

under the Texas lnsurance Code and Texas Business & Commerce Code. 'I`Ex. INS. CODE
§ 541.161(b).
4.

Pursuant to little 193.'? of the Texas Rules of Civil Procedure, Defendant hereby gives
actual notice to Plaintifi` that any and all documents and materials produced in response to written
discovery may be used as evidence in this case; and, that any such materials may be used as
evidence against the party producing the document at any pretrial proceeding andfor at the trial of
this matter without the necessity of authenticating the document and/or materials produced in
discovery

5.

Bngns§.tsforDi_SClOSu_re
At the time required by law or the Rules, this Defendant requests the Plaintifl" to respond
to all of the matters in TRCP 194.2.
WHEREFORE, PREMlSES CONSIDERED, Defendant prays that upon final hearing
hereof, that Plaintiff` not recover against Defendant and that Defendant goes hence with his costs
without day and for such other and Iilrtl'ter relief, at law or i.n cquity, to which Defendant may

justly show himself entitled to receive.

MALDONADO DE LOS REYF.S, RAUUSIC`- [J OA ~‘THOMPSON - PAGF.‘Z OF 4

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on 06/06/17 P%ge%tr§r§cg)|]‘y§§ed

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Reviewed By: Ce|este De La Rosa

Respectfully submitted,

Gault, Nye & Quintana, L.L.P.
P.O. Box 6666

Corpus Christi, Texas 78466
[361) 654-7008

(361) 654-7001 Telecopier

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Thoma.s F. Nye
State Bar No. 15154025

William Ganlt

State Bar No. 07765050
Gault, Nye & Quiutana, L.L.P.
P.O. Box 5959

Brownsville, Texas 78523
(956) 544~7110

(956) 544-0507 Teiecepier

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AT'roaNsYs ron DEFENDANT DARLaLLl-:
THOMPsoN

MALD(}NADO UE LOS REYES. RAUUS{I.'_` - D OA - THOMPSON - PAGB 3 OF 4

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on 06/06/17 Pag|§cquAalg);"§|§|ed

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Hida|go County District Clerks
Revlewed By: Celeste De La Rosa

CERTIFICATE OF S`ERVICE

l, Thomas F. Nye, hereby certify that on the 351-day of May, 2017, a true and correct
copy of the above and foregoing document was served upon the following counsel as indicated:

A!!orne}gs fay Plaimffz

Larry W. Lawrence, Jr.
Michael Lawrence
Lawrence Law Fil‘m

Email: lamencet'rrm(a}gmail.com

Dan Carmight
Lory Sopchak
Cartwright Law Firm, LLP

Email: io;\g@‘dcartwri ghtlaw.net
VIA E-FILING

Thornas F. Nye

 

MALDONADO DE L.OS REYES, R.AUUSK.‘ -» D O)\ - THOMFSON - ¥'AGE 4 OP 4

 

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Ftevlewed By: Celeste De La Rosa

CAUSE NO. C‘-OlQO-l?-H

RAUL MALDONADO DE LOS REYES
V.

SUSSEX INSUR.ANCE COMPANY AND
DAR_IBLLE THOMPSON

¢O'#¢G°¢M¢O§W)

l`N THE DISTRICT COUR'[`

389TH J'UDICIAL DISTR[CT

HIDALGO COUNTY, TEXAS

DEFEN'DANT’S DEMAND FOR .]'URY

COMES NOW, DAJUELLE THOMPSON, Dei`endant in the above-referenced cause, and

demands a trial by jury. The jury fee has previously been paid by the Plaintiff.

 

Rcspectfully submitted,

Gnnlt, Nye & Qnintarla1 L.L.P.
P.O. Box 6666

Corpus Cl:u'isti, Texas ?8466
(36 l) 654-7008

(361) 654-7001 Telecopier

mye@gnqlawyers.com

By:`/Zi;~._ "’[' /(~‘1/"

Thbmn.s F. Nye
State Bar No. 15154025

William Gault

Statc Bar No. 07765 050

Gault, Nye & Quintana_. L.L.P.
P.O. Box 5959

Brownsville, Texas 78523
(956) 544~7110

(956) 544-0607 Telecopier

bgault@gnqlawyers.com

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Case 7:17-cv-00219 Document 1-2 Filed in TXSD on 06/06/17 P@ggrgrpc§,t 3,§¢

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Hidatgo County District Clerks
Reviewed By: Ce|esle De La Rosa

CERTIFICATE OF SERVICE

I, Thomas F. Nye, hereby certify that on theZ£T" day of May, 2017, a true and correct
copy of the above and foregoing document was served upon the following counsel as indicated:

A!t'or'ne or Pfaintt'
Larry W. lawrence, .lr.
Michael Lawrence
Lawrence Law Firm

E.mail: lawrencc{irm@gmail,com

Dan Cartwright
Lory Sopchak
Cartwright Law Firm, LLP

Email: log[:ldcartwrightlaw.net
VIA E-FILING

_/7;»_7.%(_-_

Thotnas F. Nye

MM.DONADO DE LOS REYES. RAUUS|L` - JD - THOMPSON - PAC_|EI OFZ

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on 06/06/17 P€Iglce 2789\1; l§l€eid

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Hida|go County District C|erks
Reviewed By: Ce|este De La Rosa

CAUSE NO. C-0190-l7-H

RAUL MALDONA_DO DE LOS R_EIYES I`N THE`. DISTRICT COUR'I`

VS. 3 SQTH .]'UDICIAL DISTPJCT

SUSSEX INSURANCE COM_PANY
AND DAR[ELLE THO MPSON

EOICMCDNEMEO”J¢Q'I

I-IIDALGO COUNTY, TEXAS

DEFENDANT SUSS§X INSURANCE COM'PANY’S ORIGINAL ANSWER
AND PLEA lN ABATEMENT

'l`O Ti-IE HONORABLE JUDGE OF S_AID COURT:

COMES NOW, SUSSEX INSURANCE COMPANY, Defcndant in the above-styled and
numbered cause and makes and files this, its Original Answer in reply to Plainti£t"s Petition, and
i`or such answer and plea in abatement would respectfully show unto the Court the following:

l.

Pursuant to Rnle 92 of the Texas Rules of Civil Procedure, Dei`endant generally denies the
allegations contained within Plaintifi" s Petition and demands strict proof thereon by a preponderance
of the credible evidence in accordance with the laws of the State of Texas.

24

Pleading further and without waiver of the above, Defendant denies the occurrence of all
conditions precedent to Plaintiff‘s claim. Without limiting the foregoing, Defcndant denies that
the following has occurred:

a. that there has been full compliance with all terms and conditions of the
insurance policy at issue as required prior to Plaintif`f:` bringing suit,
including, but not limited to, the requirement that payment is only due after
agreement is reached on the amount of loss or an appraisal award has been

m_ade; and

b. that Plaintifl" has provided the required written notice under Section 541 .l 54
of the Texas lnsurance Code at least 60 days prior to filing suit.

 

 

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on 06/06/17 Page 28 of 36

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Reviewed By: Celeste De La Rosa

3.

Pleading further and without waiver of the above, Defendant requests that this Court
compel mediation pursuant to TEXAS lNSURANCE CoDE § 541.161(a). This mediation is required
under the Texas insurance Code and Texas Business & Commerce Code. 'I`Ex. INs. Coos
§ 541.161(|)).

4.
PLEA IN ABAT§_MEN'I`

A. In Plaintiff’s Original Petition, Plaintift` has alleged causes of action pursuant to
Chapter 541 of the Texas lnsurance Code. Chapter 541 .154 provides, in pertinent part, “[a] person
seeking damages in an action against another person under this subchapter must provide written
notice to the other person not later than the 61“ day before the date the action is filed." 'I`Ex. le.
CODE §541.154 (Vemon Supp 2005). Additienally, Chapter 541.155 of the Texas lnsurance Code
provides that the Court shall abate the action if the Court'finds that the claimant failed to provide
the requisite notice. TEX, INS. CODE §541.155 (Vemon Supp 2005).

B. Defendant has not received adequate written notice in compliance with the
requirements of the Texas lnsurance Code.

C. Accordingly, Det`endant is entitled to an abatement of these proceedings pursuant
to Chapter 541 of the Texas lnsurance Code.

5.

Additionally, the insurance policy pertaining to the claims asserted by the Plainti ff includes
a specific “Appraisal” clause which sets forth the procedure in the event of a disagreement of the
amount of the loss. Spccitically, the policy requires that, upon written request, the property must

be appraised by each party’s own independent appraiser. ln the event of a disagreement in the

MALDUNA.DO DE LOS REYES` RAUUSLC - [J OA & FIA -SIC - PA{]E 2 OF$

 

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Revlewed By: Ca|este De La Rosa

appraisal, the differences arc submitted to an mppire for determination Defendant insurance
company was potentially deprived of the opportunity to invoke the appraisal clause prior to suit.
Furtlter, the lawsuit potentially prevented Defendant insurance company from attempting to
resolve the alleged problems, reaching an impasse or invoking the appraisal clause, if necessary.
Defertdant insurance company reserves the contractual right to invoke this clause and that the
property be appraised according to the terms of the applicable insurance policy if the parties reach
an impasse Defendant insurance company has not waived and is not waiving this provision and
may assert it in the ii.tturen
6.

Pursuant to Rule 193.7 of the Texas Rulcs of Civil Procedure, Defendant hereby gives
actual notice to Plaintiff that any and ali documents and materials produced in response to written
discovery may be used as evidence in this case; and, that any such materials may be used as
evidence against the party producing the document at any pretrial proceeding andfor at the trial of
this matter without the necessity of audienticating the document and/or materials produced in
discovery.

7.
Reguests for Disclgsure
At the time required by law or the Rules, this Det"`endant requests the Plaintiff to respond

to all of the matters in TRCP 194.2.

WHEREFORE, PREMISES CONSIDE.RED, Det`endant prays that upon dual hearing
hereof, that Plaintiff not recover against Defendant and that Defendartt goes hence with its costs
without day and for such other and further relief, at law or in equity, to which Det`endant may

justly show itself entitled to receive.

MALDONADO DE L.OS REYES. RAUUS|C`- D OA & PlA-»SIC - PAG£S OF 5

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on 06/06/17 P§Q§ro§‘p:ag; §"§d

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Hida|go County District C|erks
Reviewed By: Celeste De La Rosa

Respectf"ully submitted,

Gault, Nye & Quintana, L.L.P.
P.O. Box 5666

Corpus Christi, Texas 78466
(361) 654-?0(}8

(361) 654-7001 Telecopier

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By: m¥-M-~

Thomas F. Nye
State Bar No. 15154025

 

 

William Gault

State Bar No. 07765050

Crault, Nye dc Quintana, L.L.P.
P.O. Box 59$9

Brownsville, Texas 78523
(956} 544~7110

(956) 544-0607 Teiecopier

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A'r'roRNl~:vs son DEFENDANT Sussux
INsunANcE CoMPANY

connolng oF sgnvrcg

I, Thomas F. Nye, hereby certify that on the Eday of May, 2017, atrue land correct copy
of the above and foregoing document was served upon the following counsel as indicated:

At!orne],_'s for le`nfifz
Larry W. Lawrence, .Tr.

Michae| Lawrence
Lawrence Law Firm

Email: lawrencefinn(r"r),gpraii.com

Dan Cartwright

Lory Sopchak

Cartwright Law Firm, LLP
Email: logg(n§dcartwrightlaw.nct

VIA E-FILI`NG

 

Thomas F. Nye

MALDONADO DE l.OS REYES, RAUIJS]C - [) OA 62 FlA - SIC ~ PhGE-i ClF 5

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on 06/06/17

VERII"I CAT[ON OF M CHAE . S EIDER_MAN

'I`HE STATE §
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5!26!2017 4:55:32 PM
Hida|go County District C|erks
Reviewed By: Celeste De La Roea

BEFO`RE ME, the undersigned Nolary Pubiie in and for the State of Texas, on this day

personally appeared Miohael L. Schneiderrnan, known to me to he the person whose name is

subscribed hereto, who being first duly sworn in the manner provided by law. on oath stated as

follows:

"M_v name is Michae| L. Sehneiderman. l am an Authorized Agent for Sussex insurance

Company, am over the age of itt years, am competent and authorized to testify

herein and have

personal knowledge of the facts herein l have read Paragraph 413 of Det`endani°s Original Answcr

and it is true and correct.`°

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Michaei l_.. Sehneidi¥l‘iiian, Authorized Agent
for Sussex lnsurance Company

l »"
SWORN TO AND SUBSCRLBED TO BEFORE ME, on this the 5 ,`) §

to witness my hand and official seal of office. /, -
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the State of Texas

   
   

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M.\l.DON¢-\DO |JE l-DS RI'EYES. RAU]_'.‘\`{(' -' l"> OA & I'I:\ - SK` - PN.tI.$ til-‘ 5

 

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Yc;tc;

Case 7:17-0\/- -00219 Document 1- 2 Filed in TXSD on 06/06/17 Pe}:gee 320

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5.~*26!2017 4: 55: 32 PM
Hidalgo County District CIerks
Reviewed By: Ce|este De La Rosa

CAUSE NO. C-OlQO-I?-H

RAUL MALBONADO DE LOS REYES IN THE DISTR.ICT COURT

VS. 389TH JUDICIAL DISTRICT

SUSSEX INSURANCE COMPANY AND
DAR}."ELLE THOMPSON

bmbO:£OF»WDl-D°w%

HIDALGO COUNTY, TEXAS

DEFENDANT’S DEMAND FOR§URY
COMES NOW, SUSSEX [NSURANCE COMP.ANY, Defendant in the above-referenced

cause, and demands a trial by jury. The jury fee has previously been paid by the Plaintiff.
Respeett`ully submitted,

Gault, Nye & Q\.u'ntana, L.L.P.
P.O. Box 6666

Corpus Christi, Texas 78466
(361) 654-7008

(361) 654-7001 Telecopier

tnye@gnqlawyers.com

By:`;/Z;. ’F. !L,r"---

Thomas F. Nye
State Bar No. 15154025

William Gault

State Btu' No. 07765050
Gault, Nye & Quintana, L.L.P.
P.O. Box 5 959

Brownsville, Texas 78523
(956) 544-7110

(956) 544-060? Teleeopier

bgault@gnqlawyers.com

ATTORNEYS FOR DEFENDANT Sussex
INsoRANcE CoMPANY

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Case 7: 17- -C\/- -OO219 Document 1- 2 Filed in TXSD 0n 06/06/17 Pal:c|e 330

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5.~"26!2017 4: 55: 32 PM
Hida[go Counly District C|erks
Reviewed By: Ce|esle De La Rosa

CERTI'FICATE OF SERVICE

I, Thomas F. wyc, hereby certify that on the 311 day of May, 2017, a true and correct
copy of the above and foregoing document was served upon the following counsel as indicated:

A!torrre s r'Pl£zr'ni
Larry W. Lawrence, Jr.
Miehael Lam`ence
Lawrence Law Fin'n

Email: fawrenceiinn{algmail.eom

Dan Certwright
Lory Sopchak
Cartwright Law Firrn, LLP

Email: logf:]dcartwrightlaw.net
VIA E-F[L]]`IG

Thomas F. Nyz

MAL.DONADO DE L.OS REYES, RAUL!SIC - JD --SlC - FAGEZ OFZ

 

Case 7:17-cv-OO219 D0cument 1-2 Filed in TXSD 0n 06/06/17 Page 34 0f 36

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FOSTAL SERV!CE. E`IEL‘;ED
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. District Courts, Hi County
Date: |Vlay B, 2017 W`U)osputy#le

MA|L MA[L:

The following is in response to your lvlay 8l 2017 request for delivery information on your
Certitied Mail'““i'RRE item number 92148901066154000106774849. The delivery record
shows that this item was delivered on May 5, 2017 at 7:42 am in FORT WORTH, TX

76104. The scanned image of the recipient information is provided below.
___-_.--.,._. _ . .. ._,. m_?_,_,, nw

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Signature of Rectpient :

 

Address of Rscipient : ..........

Tnanl< you for selecting the Postal Service for your mailing needs.

if you require additional assistance please contact your local Post Oflice or postal
representative

Sincerely,

United States Postai Service true summary
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The customer reference information shown below is not validated or endorsed by the
United States Posta| Service. it is solely for customer use.

Reference iD: 921489010661540001067?4849
C-Oi 90-17-H

DARIELLE THOMPSON

CIO SUSSEX iNSURANCE COMPANY

OR WHEREVER SHE MAY BE FOUND

P.O. BOX 1118

FORT WORTH, TX ?6101-0000

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on 06/06/17 Page 35 of 36

 

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pate May e, 2017 D‘S"'CICOMS. H‘ Counu
BY_____. Deputy#i$

flelL MA|L:

The following is in response to your May B, 2017 request for delivery information on your
Certified MallTWRRE item number 9214890‘1066154000106750126. The delivery record
shows that this item was delivered on May B, 2017 at 9:26 am in DALLAS, TX 75201.
The scanned image of the recipient information is provided below.

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Signature of Recipient : "'*""'”r""‘ ..
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Address of Recipient :

 

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Thank you for selecting the Posta| Service for your mailing needs.

|f you require additional assistance please contact your local Post Oft`lce or postal
representative

Sincerely, art *-'»‘ 5 l 7
United States Postal Service A”“E°°P>'l¢erve‘

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The customer reference information shown below is not validated or endorsed by the
United States Postal Servioe. it is solely for customer use.

REfererlce |D: 921489010661540001087501 26

C-O`lQO-‘l 7-H

SUSSEX INSURANCE COMPANY

C!O REG|STERED AGENT: CT GORPORATION SYSTEM
1999 BRYAN STREET '

DALLAS, TX 75201-0000

 

Case 7:17-cv-00219 Document 1-2 Filed in TXSD on O6/O6/17 Page 36 of 36

UN!TED STATES
§ PO$TAL SERV!CE~

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lle`f tltl 2017
LAURA HiNoJosA. dealt

Date: N'lay 8, 2017 District C°"l'ts- HQ` COUGI‘!
311 Daptrtylfl&

MAII_ MA[L:

The following is in response to your Nlay 8, 2017 request for delivery information on your
Certif`ied MailW/RRE item number 92148901066154000106750126. The delivery record
shows that this item was delivered on Nlay 8, 2017 at 9: 26 amin DALLAS, TX 75201.
The scanned image of the recipient information is provided below.

Signature of Recipient : ""1

 

Mory_l.uthl"l___________-
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Address of Recipient :

 

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noting :TT 75¢)0\

 

Thanl< you for selecting the Posta| Service for your mailing needs.

if you require additional assistancel please contact your local Post Office or postal
representative

Slncerely, _F
United States Posta| Servioe gm (€ /‘6// 7

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The customer reference information shown below is not validated or endorsed by the
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Refererlce |DZ 92148901066154000106750126
C-O‘lQO-i`?-H

SUSSEX INSURANCE COMPANY

C/O REGlSTERED AGE.NT: CT CORPORAT|ON SYSTEM
1999 BRYAN STREET

DALLAS. TX 75201-0000

